Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 1 of 12 PageID 99



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

DOMINQUE S. BAPTISTE,                                           CASE NO: 8:20-cv-1685-T-35CPT

        Plaintiff,

vs.

VAL PAK DIRECT MARKETING SYSTEMS,
INC., a California foreign corporation,

        Defendant.
        _______________________/

             FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, DOMINQUE S. BAPTISTE, (“Baptiste” or “Plaintiff”) by and through undersigned

counsel, sues Defendant, VAL PAK DIRECT MARKETING SYSTEMS, INC., a California Foreign

Corporation, (“Val Pak” or “Defendant”) and alleges the following:

                                       NATURE OF ACTION

        1.       Baptiste brings this action against Val Pak for violations of and the Family and Medical

Leave Act (FMLA) (29 U.S.C. §§ 2601-2654) and the Florida Civil Rights Act, Fla. Stat. § 760.10.

                                  JURISDICTION AND VENUE

        2.       Federal Question Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331

and 1343. This action is authorized and instituted pursuant to the Family and Medical Leave Act

(FMLA) (29 U.S.C. §§ 2601-2654. Supplemental jurisdiction, and joinder of parties for additional state

law claims is proper pursuant to 28 U.S.C. §1367(a) because they form part of the same case or

controversy.

        3.       Pursuant to 28 U.S.C. § 1391 proper venue for this cause of action is the United States

District Court for the Middle District of Florida. The unlawful employment practices complained of

herein occurred within the Middle District of Florida, specifically, St. Petersburg, Florida.
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 2 of 12 PageID 100
                                                   BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.




                                                PARTIES

        4.        All times material to this case, Baptiste is and was a resident of the State of Florida in

Pinellas County.

        5.        From April of 2007 to January 22, 2018, Baptiste was employed by Val Pac as a

Senior Process Technician, Machine Operator.

        6.        At all times material to this case, Baptiste was an “employee” of Val Pak as defined

by all pertinent state and federal laws.

        7.        Defendant is a California for profit corporation authorized to do business in the

State of Florida with its principal place of business in St. Petersburg, Florida.

        8.        At all times material to this case, Val Pak was an “employer” as defined by all pertinent

state and federal laws that employed more than 50 employees within 75 miles of the location at which

Batiste worked.

                                                  FACTS

        9.        Baptiste became employed with Val Pak in April of 2007, as a Process Technician.

        10.       Baptiste was promoted in October of 2007 to Sr. Process Technician, a machine

operator.

        11.       Baptiste began dating a supervisor in another department, DeMaryland Cooper, in

December of 2016. Mr. Cooper had previously dated co-employee, Angela Lane.

        12.       Angela Lane became aware of Mr. Cooper’s relationship with Baptiste in December

of 2016.

        13.       In or about April 2017, Baptiste complained to a lead supervisor, Mr. Harris, that she

was being bullied and harassed by co-employees, Angela Lane and Angel, Angela’s twin sister, who

worked in the same department. There was no corrective action taken by Defendant.

                                                 Page 2 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 3 of 12 PageID 101
                                                BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



           14.   In or about June 2017, it became apparent to Human Resources and co-employees

that Baptiste was pregnant with Mr. Cooper’s child.

           15.   In or about June July 2017, Angela Lane’s complaints about Baptiste escalated to

Human Resources due to Baptiste’s pregnancy.

           16.   Baptiste also complained to Human Resources of the escalated harassment and

Human Resources advised Baptiste to stay away from Ms. Lane.

           17.   Upon information and belief, Ms. Lane was not disciplined by Defendant for her

actions towards Baptiste.

           18.   Baptiste advised Human Resources that Angela Lane seriously interfered with her

ability to do her job. Again, there was no corrective action taken against Ms. Lane.

           19.   The lead supervisor, Mr. Harris, continually placed Angela Lane and Angel in close

proximity of Baptiste’s workstation.

           20.   Employees, Angela Lane and Angel continued to report frivolous complaints about

Baptiste to Human Resources through the fall of 2017. Baptiste continued to be chastised, with no

disciplinary actions to Baptiste as the complaints were unfounded.

           21.   The Human Resource Director stated to Baptiste, “we can’t do business like this,”

referring to the continuous frivolous complaints from Angela Lane and Angel about Baptiste.

           22.   The Director insinuated Baptiste should rectify the situation with co-employees

herself.

           23.   On or about January 19, 2018, Baptiste told Human Resources she was engaged to

Mr. Cooper.

           24.   Baptiste also advised Human Resources that she would be filing for the Family and

Medical Leave (FMLA) for pregnancy leave and began the paperwork for same.




                                              Page 3 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 4 of 12 PageID 102
                                                   BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



        25.        On or about January 19, 2018, Angel was working on Baptiste’s machine. Baptiste,

nine months pregnant at the time and therefore larger than normal, moved behind Angel and brushed

her lightly.

        26.        Angel complained to the lead supervisor, Mr. Harris, stating that Baptiste intentionally

pushed her.

        27.        Mr. Harris did not investigate this matter by speaking to Baptiste nor the witness(es)

to the incident.

        28.        Supervisor Rip Van, told Baptiste to write a statement when she returned to work the

following day.

        29.        On or about January 20, 2018, when Baptiste returned to work, she was advised she

had been terminated for not writing the statement on the day of the incident. Therefore, Baptiste was

unable to complete the statement that Supervisor Rip Van advised her to write.

        30.        As a result of the termination, Baptiste was unable to submit her paperwork for FMLA

leave to Human Resources for her maternity leave.

        31.        Defendant disciplined and terminated Baptiste as a result of her request for FMLA

leave, which stemmed from her pregnancy, and which violated the Defendant’s own policy.

        32.        Defendant’s violations of Plaintiff’s FMLA rights were willful.

        33.        Defendant’s tangible, adverse employment actions were causally connected to

Plaintiff’s pregnancy and need for FMLA leave.

        34.        Defendant intentionally, willfully, and systematically discriminated against Baptiste by

using her pregnancy and need for FMLA leave as the substantial or motivating factor in Defendant’s

decision to terminate Baptiste.

        35.        Defendant terminated Baptiste as a direct result of her pregnancy, and her request and

need for maternity leave, which should have been allowed under the FMLA.

                                                 Page 4 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 5 of 12 PageID 103
                                                 BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



        36.     Baptiste was pregnant and qualified for her position when Defendant fired her.

        37.     Defendant’s decision to terminate Baptiste’s employment violated her rights under the

FMLA and the FCRA.

        38.     Baptiste has retained the undersigned counsel and is obligated to pay them a fee.

                 COMPLIANCE WITH PROCEDURAL REQUIREMENTS

        39.     Baptiste timely filed a charge of discrimination with the U.S. Equal Employment

Opportunity Commission (“EEOC”), a copy of which is attached hereto as Exhibit A, and

accordingly, is permitted to proceed to court on her claims.

        40.     On December 3, 2019, counsel for Plaintiff received Notice of Right to Sue from the

EEOC for her Charge, a copy of which is attached hereto as Exhibit B.

        41.     Baptiste has satisfied all of the administrative procedures that were conditions

precedent to filing this cause of action with no satisfactory remedy.

                                            COUNT I
               Violations of Florida Civil Rights Act– Pregnancy Discrimination

        42.     Baptiste re-alleges and references each and every allegation contained in paragraphs 1

through 41 and incorporates the same as if fully restated herein.

        43.     Section 760.10 of the Florida Civil Rights Act (“FCRA”) states in relevant part.

                 (1) It is an unlawful employment practice for an employer:

                     (a) To discharge or to foil or refuse to hire any individual, or otherwise to
                     discriminate against any individual with respect to compensation, terms,
                     conditions, or privileges of employment, because of such individual’s race, color,
                     religion, sex, national origin, age, handicap, or marital status.”

        44.     The FCRA accordingly prohibits discrimination based on pregnancy. Delva v. Cont’l

Grp., Inc., 137 So. 3d 371, 374 (Fla. 2014).

        45.     Baptiste was pregnant and qualified for her position when Defendant fired her.

        46.     Defendant was well aware that Baptiste was pregnant.

                                               Page 5 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 6 of 12 PageID 104
                                                  BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



        47.     Defendant, via its Human Resources Department, marginalized Baptiste while treating

non-pregnant similarly situated employees more favorably. Specifically, Defendant’s Human

Resources Department failed to adequately investigate Baptiste’s claims of pregnancy-based

harassment from Ms. Lane and Angel, yet disciplined Baptiste when she reacted to the harassment.

        48.     Defendant’s alleged basis for its adverse conduct against Plaintiff is pretextual and

asserted only to cover up the discriminatory nature of its conduct.

        49.     Even if Defendant could assert legitimate reasons for its adverse actions against

Plaintiff and Plaintiff’s termination, which reasons it does not have, Plaintiff’s pregnancy was also a

motivating factor for Defendant’s adverse conduct toward Plaintiff and Plaintiff’s termination.

        50.     The treatment to which Plaintiff was subjected by Defendant as set forth above and

incorporated herein, was the result of her pregnancy, to which non-pregnant employees were not and

would not have been subjected, in violation of the FCRA.

        51.     As a result of Defendant’s willful and malicious discriminatory actions as a result of

her pregnancy, Plaintiff has experienced and will continue to experience significant financial and

economic loss in the form of lost wages and lost benefits. Plaintiff has also experienced and will

continue to experience emotional anguish, pain and suffering and loss of dignity damages. Plaintiff

accordingly demands lost economic damages in the form of back pay and front pay, interest, lost

benefits, compensatory damages, and attorney’s fees and costs.

        52.     Defendant intentionally violated Baptiste’s rights under the FCRA, with malice or

reckless indifference, and, as a result, is liable for punitive damages.

        WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award of

damages for lost wages and benefits, prejudgment interest, and punitive damages, reinstatement or

such other legal or equitable relief as may be appropriate, and an award of reasonable attorneys’ fees




                                                Page 6 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 7 of 12 PageID 105
                                                  BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



and costs as authorized under Fla. Stat. § 760.11(5) and any other such damages as this honorable

Court deems just.

                                            COUNT II
                        Violations of Florida Civil Rights Act– Retaliation

          53.   Baptiste re-alleges and references each and every allegation contained in paragraphs 1

through 41 and incorporates the same as if fully restated herein.

          54.   Baptiste was pregnant and qualified for her position when Defendant fired her.

          55.   On several dates between May 2017 and January 2018, Baptiste engaged in protected

activity by complaining to Defendant’s Human Resources Department about Angela Lane and Angel’s

harassment based on Baptiste’s pregnancy. Specifically, Baptiste told Defendant’s Human Resources

Department that Angela Lane and Angel were harassing her at work based on her being pregnant with

Mr. Cooper’s child. Defendant failed to investigate or discipline Ms. Lane or Angel.

          56.   Only mere weeks after Baptiste complained of harassment based on her pregnancy,

Defendant summarily fired Baptiste on January 20, 2018, allegedly because she did not write a written

statement regarding the January 20, 2018 incident.

          57.   Defendant’s alleged reason for terminating Baptiste’s employment is pretextual and

baseless. Defendant fired Baptiste because she complained of pregnancy discrimination on throughout

most of 2017.

          58.   Baptiste suffered damages as a result of Defendant’s unlawful retaliatory actions,

including emotional distress, past and future lost wages and benefits, and the costs of bringing this

action.

          59.   Defendant intentionally violated Baptiste’s rights under the FCRA, with malice or

reckless indifference, and, as a result, is liable for punitive damages.




                                                Page 7 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 8 of 12 PageID 106
                                                BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



        WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award of

damages for lost wages and benefits, prejudgment interest, and punitive damages, reinstatement or

such other legal or equitable relief as may be appropriate, and an award of reasonable attorneys’ fees

and costs as authorized under Fla. Stat. § 760.11(5) and any other such damages as this honorable

Court deems just.

                                       COUNT III
    Violation of the Family and Medical Leave Act (“FMLA”) (29 U.S.C. §§ 2601-2654) -
                                        Retaliation

        60.      Baptiste re-alleges and references each and every allegation contained in paragraphs 1

through 38 and incorporates the same as if fully restated herein.

        61.      On January 19, 2018, Baptiste informed Defendant of her likely need for leave for her

pregnancy, a serious health condition.

        62.      Only one day after Baptiste requested the leave, Defendant summarily fired Baptiste

on January 20, 2018 allegedly because she did not provide a written statement about the January 20,

2018 incident.

        63.      Baptiste engaged in activity protected by the FMLA when she requested leave due to

her serious health condition, consistently informing Defendant of the same.

        64.      Defendant knew, or should have known, Baptiste was exercising her rights under the

FMLA and was aware of Baptiste’s need for FMLA-protected absence.

        65.      A causal connection exists between Baptiste’s request for FMLA-protected leave and

her termination from employment with Defendant because Baptiste engaged in statutorily protected

activity by requesting FMLA leave.

        66.      Defendant’s alleged reason for terminating Baptiste’s employment is pretextual and

baseless.




                                              Page 8 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 9 of 12 PageID 107
                                                 BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



        67.     Defendant retaliated terminating Baptiste’s employment because she engaged in the

statutorily protected activity of requesting FMLA leave, a statutorily protected activity.

        68.     Defendant engaged in willful and intentional retaliation in violation of the FMLA by

terminating Baptiste's employment because she engaged in activity protected by the FMLA.

        69.     As a result of the above-described violations of FMLA, Baptiste has been damaged by

Defendant in the nature of lost wages, salary, employment benefits and other compensation and is

therefore entitled to recover actual monetary losses, interest at the prevailing rate and liquidated

damages.

        WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award of

damages for lost wages and benefits, prejudgment interest, and liquidated damages under 29 U.S.C. §

2617(a)(1)(A), reinstatement or such other legal or equitable relief as may be appropriate, and an award

of reasonable attorneys’ fees and costs as authorized under 29 U.S.C. § 2617(3), and any other such

damages as this honorable Court deems just.

                                       COUNT IV
    Violation of the Family and Medical Leave Act (“FMLA”) (29 U.S.C. §§ 2601-2654) –
                                       Interference

        70.     Baptiste re-alleges and references each and every allegation contained in paragraphs 1

through 38 and incorporates the same as if fully restated herein.

        71.     Baptiste qualified for FMLA leave under 29 U.S.C. § 2611(11); 29 CFR §§ 825.113(a);

825.800 since she herself began suffering from a serious health condition, had worked for more than

1,250 hours in the previous 12 months, the FMLA defining a serious health condition as an illness,

injury, impairment, or physical or mental condition that involves treatment by a health care provider.

        72.     Baptiste informed Defendant of her need for leave for her pregnancy.




                                              Page 9 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 10 of 12 PageID 108
                                                BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



        73.     Defendant was responsible for designating leave as FMLA-qualifying and for giving

 notice of the designation within five business days, absent extenuating circumstances, after it has

 enough information to make that determination, such as when it receives medical certification.

        74.     If Defendant were to have decided that Baptiste’s absence was not FMLA- qualifying,

 it must have notified her of this fact in the Designation Notice under 29 CFR § 825.300(d)(1).

        75.     Defendant has never provided Baptiste with any notice disqualifying her FMLA leave.

        76.     In fact, Defendant should have determined that Baptiste was eligible for leave under

 the FMLA and yet refused to allow her leave and return her to work, thus terminating her employment

 because of her request for federally protected medical leave.

        77.     Baptiste engaged in activity protected by the FMLA when she requested leave due to

 her pregnancy – a serious health condition – consistently informing Defendant of the same.

        78.     Defendant knew, or should have known, Baptiste was exercising her rights under the

 FMLA and was aware of Baptiste’s need for FMLA-protected absence.

        79.     Baptiste complied with all of the notice and due diligence requirements of the FMLA.

        80.     Defendant was obligated, but failed, to allow Baptiste to take FMLA leave and to

 return Baptiste, an employee who requested and took FMLA leave, to her former position or an

 equivalent position with the same pay, benefits, and working conditions when she tried to return to

 work under 29 U.S.C. § 2614(a)(1); 29 CFR § 825.215(a).

        81.     A causal connection exists between Baptiste’s request for FMLA-protected leave and

 her termination from employment with Defendant because Defendant denied Baptiste a benefit to

 which she was entitled under the FMLA.

        82.     Defendant’s interference with Baptiste’s FMLA rights was willful.

        83.     As a result of the above-described violations of FMLA, Baptiste has been damaged by

 Defendant in the nature of lost wages, salary, employment benefits and other compensation and is

                                              Page 10 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 11 of 12 PageID 109
                                                    BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



 therefore entitled to recover actual monetary losses, interest at the prevailing rate and liquidated

 damages.

         WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award of

 damages for lost wages and benefits, prejudgment interest, and liquidated damages under 29 U.S.C. §

 2617(a)(1)(A), reinstatement or such other legal or equitable relief as may be appropriate, and an award

 of reasonable attorney's fees and costs as authorized under 29 U.S.C. § 2617(3), and any other such

 damages as this honorable Court deems just.

                                     DEMAND FOR JURY TRIAL

 Plaintiff demands a trial by jury for all matters so triable.

 Dated: August 12, 2020

                                                                 Respectfully submitted,

                                                                 /s/ April S. Goodwin
                                                                 APRIL S. GOODWIN, ESQ.
                                                                 FLORIDA BAR NO: 0502537
                                                                 The Goodwin Firm
                                                                 801 West Bay Drive, Suite 705
                                                                 Largo, FL 33770
                                                                 Phone: (727) 316.5333
                                                                 april@goodwin-firm.com

                                                                 /s/ Bridgette M. Domingos
                                                                 BRIDGETTE M. DOMINGOS, ESQ.
                                                                 FLORIDA BAR NO: 102375
                                                                 Domingos Law
                                                                 801 West Bay Drive, Suite 705
                                                                 Largo, FL 33770
                                                                 Phone: (727) 755-8448
                                                                 bridgette@domingoslaw.com

                                                                 Attorneys for Plaintiff

                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 12, 2020, I electronically filed the foregoing with the

 clerk of the court by using the CM/ECF system which will send a notice of electronic filing to Jeffrey

                                                 Page 11 of 12
Case 8:20-cv-01685-MSS-CPT Document 13 Filed 08/12/20 Page 12 of 12 PageID 110
                                            BAPTISTE vs VAL PAK DIRECT MARKETING SYSTEMS, INC.



 M. Goodz, Esq., Attorney for Defendant, McGuinness & Cicero, 1000 Sawgrass Corporate Parkway,

 Suite 590, Sunrise, FL 33323.

                                                    /s/ April S. Goodwin
                                                    April S. Goodwin, Esq.
                                                    Florida Bar No. 0502537




                                         Page 12 of 12
